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                          UNITED STATES DISTRICT COURT
                          WESTERN DISTRICT OF LOUISIANA
                               LAFAYETTE DIVISION


 Q B E SYNDICATE 1036                       CASE NO. 6:20-CV-00554

 VERSUS                                     JUDGE ROBERT R. SUMMERHAYS

 COMPASS MINERALS LOUISIANA                 MAGISTRATE JUDGE PATRICK J. HANNA
 INC.


                                         JUDGMENT

        On November 2, 2020, United States Magistrate Judge Patrick J. Hanna issued a Report

 and Recommendation [ECF No. 21], recommending that the Motion to Dismiss Pursuant to the

 Abstention Doctrine [ECF No. 16] filed by Compass Minerals Louisiana Inc.’s (“Compass”) be

 denied. On November 13, 2020, Magistrate Judge Hanna issued an Amended Report and

 Recommendation [ECF No. 25], again recommending that the motion be denied. After

 independent review of the record, and consideration of the objections filed, the Court hereby

 ADOPTS the findings and conclusions set forth therein. Accordingly,

        IT IS ORDERED, ADJUDGED, AND DECREED that Compass’ Motion to Dismiss [ECF

 No. 16] is DENIED.

        THUS DONE in Chambers on this 20th day of August, 2021.




                                                     ROBERT R. SUMMERHAYS
                                                  UNITED STATES DISTRICT JUDGE
